                               In the
                          Court of Appeals
                  Second Appellate District of Texas
                           at Fort Worth
                                No. 02-24-00196-CR

ANICETO TURRUBIATES SANCHEZ,              §   On Appeal from the 415th District
Appellant                                     Court

                                          §   of Parker County (CR21-0818)

V.                                        §   August 22, 2024

                                          §   Memorandum Opinion by Chief
                                              Justice Sudderth

THE STATE OF TEXAS                        §   (nfp)

                                   JUDGMENT

       This court has considered the record on appeal in this case and holds that the

appeal should be dismissed. It is ordered that the appeal is dismissed for want of

jurisdiction.


                                     SECOND DISTRICT COURT OF APPEALS

                                     By /s/ Bonnie Sudderth
                                        Chief Justice Bonnie Sudderth
